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ßÑ îìé øÎ»ªò ïïñïï÷ Ñ®¼»® Î»¹¿®¼·²¹ Ó±¬·±² º±® Í»²¬»²½» Î»¼«½¬·±² Ð«®-«¿²¬ ¬± ïè ËòÍòÝò y íëèîø½÷øî÷         Ð¿¹» ï ±º î øÐ¿¹» î Ò±¬ º±® Ð«¾´·½ Ü·-½´±-«®»÷


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                                                                        º±® ¬¸»
                                                         Û¿-¬»®² Ü·-¬®·½¬ ±º Ý¿´·º±®²·¿

                   Ë²·¬»¼ Í¬¿¬»- ±º ß³»®·½¿
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                            Ö¿²»´´» Ó·´´»®                                 ÷
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øË-» Ü¿¬» ±º Ô¿-¬ ß³»²¼»¼ Ö«¼¹³»²¬ ·º ß²§÷                                     Ü»º»²¼¿²¬Ž- ß¬¬±®²»§


                  ÑÎÜÛÎ ÎÛÙßÎÜ×ÒÙ ÓÑÌ×ÑÒ ÚÑÎ ÍÛÒÌÛÒÝÛ ÎÛÜËÝÌ×ÑÒ
                           ÐËÎÍËßÒÌ ÌÑ ïè ËòÍòÝò y íëèîø½÷øî÷
        Ë°±² ³±¬·±² ±º È ¬¸» ¼»º»²¼¿²¬ Ž ¬¸» Ü·®»½¬±® ±º ¬¸» Þ«®»¿« ±º Ð®·-±²- È ¬¸» ½±«®¬ «²¼»® ïè ËòÍòÝò
y íëèîø½÷øî÷ º±® ¿ ®»¼«½¬·±² ·² ¬¸» ¬»®³ ±º ·³°®·-±²³»²¬ ·³°±-»¼ ¾¿-»¼ ±² ¿ ¹«·¼»´·²» -»²¬»²½·²¹ ®¿²¹» ¬¸¿¬ ¸¿-
-«¾-»¯«»²¬´§ ¾»»² ´±©»®»¼ ¿²¼ ³¿¼» ®»¬®±¿½¬·ª» ¾§ ¬¸» Ë²·¬»¼ Í¬¿¬»- Í»²¬»²½·²¹ Ý±³³·--·±² °«®-«¿²¬ ¬± îè ËòÍòÝò
y ççìø«÷ô ¿²¼ ¸¿ª·²¹ ½±²-·¼»®»¼ -«½¸ ³±¬·±²ô ¿²¼ ¬¿µ·²¹ ·²¬± ¿½½±«²¬ ¬¸» °±´·½§ -¬¿¬»³»²¬ -»¬ º±®¬¸ ¿¬ ËÍÍÙ yïÞïòïð
¿²¼ ¬¸» -»²¬»²½·²¹ º¿½¬±®- -»¬ º±®¬¸ ·² ïè ËòÍòÝò y íëëíø¿÷ô ¬± ¬¸» »¨¬»²¬ ¬¸¿¬ ¬¸»§ ¿®» ¿°°´·½¿¾´»ô
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                                             øÝ±³°´»¬» Ð¿®¬- × ¿²¼ ×× ±º Ð¿¹» î ©¸»² ³±¬·±² ·- ¹®¿²¬»¼÷




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                     ø·º ¼·ºº»®»²¬ º®±³ ±®¼»® ¼¿¬»÷                                                Ð®·²¬»¼ ²¿³» ¿²¼ ¬·¬´»
